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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF NEW YORK

Association of Jewish Camp Operators,               )
                                                    )
Samuel Werzberger, MD, FAAP,                        )
                                                    )
Ariela Orkaby, MD, MPH,                             )
                                                    )
Beth Statfeld,                                      )
                                                    )
Gail Zahtz,                                         )
                                                    )
                 Plaintiffs,                        )
                                                    )
         v.                                         )     Case No. 1:20-CV-0687 (GLS-DJS)
                                                    )
Andrew M. Cuomo, Governor of the                    )
State of New York, in his official capacity,        )
                                                    )
                                                    )
                 Defendant.                         )
                                                    )

              JOINT STIPULATION FOR DISMISSAL WITHOUT PREJUDICE
                         PURSUANT TO F.R.C.P. 41(a)(1)(A)(ii)

         Pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, Plaintiffs

Association of Jewish Camp Operators, Samuel Werzberger, MD, FAAP, Ariela Orkaby, MD,

MPH, Beth Statfeld, and Gail Zahtz (“Plaintiffs”) and Defendant Andrew M. Cuomo (collectively,

the “Parties”), by and through their counsel of record, hereby stipulate and agree that this action is

dismissed without prejudice as to all parties. The Parties shall bear their own attorneys’ fees and

costs.
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This 8th day of September, 2020.


                                   /s/ Avi Schick
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